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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK

  MAXIE DACOSTA,                                    LI1t1J1*1

  Plaintiff,                                         15-CV-5174

  - against -
                                                                                FLi1.j
                                                                              IN CLERK'S Ofl
                                                                        U.S. DISTRICT COURT
                                                                                             EAj,y
  DETECTIVE FORTUNATO TRANCHINA,
  Shield #509, individually and in his official                         * DEC 18201? *
  capacity

  Defendants.



 JACK B. WEINSTEIN, Senior United States District Judge

         The court has Defendants' motion for reconsideration of the November 8, 2017 Order

 (ECF No. 84), which granted Plaintiff leave to amend his complaint and held that the amendment

 relates back to the filing of the original complaint. The court sets this motion down for a hearing

 on January 8, 2018.

         At the January 8, 2018 hearing, the parties should be prepared to discuss, in addition to

 the motion for reconsideration, whether the court should certify for an interlocutory appeal the

 November 8, 2017 Order (ECF No. 84) and the December 12, 2017 Order (ECF No. 92). Cf 28

 U.S.C. § 1292. The Plaintiff and Detective Defendant shall attend the hearing.




                                                                  W11A
                                                       Jack B. Weinstein
                                                       Senior United States District Judge
 Dated: December 14, 2017
        Brooklyn, New York
